Case 0:11-cv-62607-KMW Document 25 Entered on FLSD Docket 04/13/2012 Page 1 of 1



                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT O F FLO RIDA

                            Case No.11-62607-CV-W ILLIAM S


  W ILLIAM TAYLO R,

          Plainti
                #,

  VS.

  EM ERALD THAI,INC.and ARREL
  ENTERPRISES,INC.,

          Defendants.
                             /

                                          O RDER
          Upon consideration of the record and in Iight of Plaintiff's Notice of Voluntary

  Dismissalwith Prejudice (DE 24),this action is DISMISSED W ITH PREJUDICE as to
  DefendantEmerald Thai,Inc.,each party to bearits own costs and fees. The Clerk of

  Court is instructed to CLOSE this case for adm inistrative purposes. Any and aII

  pending m otions are DENIED AS M O OT.

          DONE AND ORDERED in cham bers in M iam i,Florida,this 13th day of April,

  2012.




                                                 KATHLEE M .W ILLIAM S
                                                 UNITED S ATES DISTRICT JUDG E

  cc:     CounselofRecord
